Case 2:04-cr-20469-.]DB Document 32 Filed 04/26/05 Page 1 ot 2

lN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTEFiN DlV|S|ON

 

UNlTED STATES OF A|V|ER|CA,

P|aintiff

VS.

MELV|N REESE, |V|ECHELLE CRAWFORD,

i_E\/oND MABoNE(FUe),

Defendants.

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VVD OF T{\, \_Wf.l"';o

CFi. NO. 04-20469-B

 

OF}DEF{ ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY

AND SETTiNG

 

This cause came on for a report date on Apri| 25, 2005. At that time, counsel for the

defendant requested a continuance ot the lVlay 2, 2005 trial date in order to allow for

additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a report

date of Tuesdav, N|av 31, 2005. at 9:30 a.m., in Courtroom 1, 11th F|oor of the Federal

Bui|ding, l‘\flemphis, TN.

The period from l\/lay 13, 2005 through June 17, 2005 is excludable under 18

U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy tria|.

it is so onDERED this 25

day ot Apri|, 2005.

 

STATES DISTR|CT JUDGE

J. A EL BREEN
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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20469 Was distributed by faX, mail, or direct printing on

April 29, 2005 to the parties listed.

 

EdWin A. Perry

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Honorable J. Breen
US DISTRICT COURT

